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  UNITED STATES DEPARTMENT OF JUSTICE
  OFFICE OF THE UNITED STATES TRUSTEE
  KEVIN M. EPSTEIN
  UNITED STATES TRUSTEE
  GARY WRIGHT
  ASSISTANT UNITED STATES TRUSTEE
  SHANE P. TOBIN
  TRIAL ATTORNEY
  903 SAN JACINTO BLVD., ROOM 230
  AUSTIN, TX 78701
  Telephone: (512) 916-5328
  Fax: (512) 916-5331

                                UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

  IN RE:                                       §
                                               §      CASE NO. 23-10164-SMR
  ASTRALABS, INC.                              §
                                               §
                                               §      CHAPTER 11
  DEBTOR.                                      §

                 NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

        Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following
  qualified individual as Subchapter V trustee in the above-captioned case:
                                          ERIC TERRY
                                       3511 BROADWAY
                                   SAN ANTONIO, TX 78209
                       Email: eric@ericterrylaw.com  PH 210-468-8274

        The trustee’s verified statement of disinterestedness and anticipated rate of compensation
  is attached to this notice.
  Dated: March 20, 2023                        KEVIN M. EPSTEIN
                                               United States Trustee Region 7
                                               Southern and Western Districts of Texas

                                               By:    /s/ Shane P. Tobin
                                                      Shane P. Tobin
                                                      Trial Attorney
                                                      CA State Bar No. 317282
                                                      903 San Jacinto Blvd., Room 230
                                                      Austin, Texas 78701
                                                      Telephone: (512) 916-5328
                                                      Fax: (512) 916-5331
                                                      Shane.P.Tobin@usdoj.gov
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing NOTICE OF
  APPOINTMENT OF SUBCHAPTER V TRUSTEE, was served upon the parties on the
  attached list (not attached to service copies) by United States Mail, first class, postage prepaid,
  and/or by electronic means for all Pacer system participants on March 20, 2023.


                                               By:     /s/ Shane P. Tobin
                                                       Shane P. Tobin
                                                       Trial Attorney
                                                       CA State Bar No. 317282
                                                       903 San Jacinto Blvd., Room 230
                                                       Austin, Texas 78701
                                                       Telephone: (512) 916-5328
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                                                       Shane.P.Tobin@usdoj.gov
